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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

        In re:                                     )   Chapter 11
                                                   )
        SL Liquidation, et al.,1                   )   Case No. 23-10207 (TMH)
                                                   )
        Debtors                                    )   Jointly Administered
                                                   )
                                                   )   Objection Deadline: December 12, 2023 at 4:00pm (ET)
                                                   )   Hearing Date: December 19, 2023 at 11:00 am (ET)


             NOTICE OF MOTION OF COOPER-STANDARD AUTOMOTIVE INC.
              FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM

         PLEASE TAKE NOTICE that on December 1, 2023, Cooper-Standard Automotive Inc.

("CS"), filed the Motion of Cooper-Standard Automotive Inc. for Allowance and Payment of

Administrative Claim (the "Motion") with the United States Bankruptcy Court for the District of

Delaware (the "Court").

         PLEASE TAKE FURTHER NOTICE that if you oppose the Motion or if you want the

Court to consider your views regarding the Motion, you must file a written response with the Court

detailing your objection or response by December 12, 2023 at 4:00 p.m. (ET). You must also

serve a copy of your response upon undersigned counsel.

         PLEASE TAKE FURTHER NOTICE that the hearing on the Motion is scheduled for

December 19, 2023, at 11:00 am (ET) before the Honorable Thomas M. Horan in Courtroom No.

7, Third Floor, in the United States Bankruptcy Court located at 824 N. Market Street, Wilmington,

Delaware 19801.




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: SL Liquidation LLC (0378); TPP Liquidation, Inc. (5202); HTPPS Liquidation, Inc. (2594);
and HGTPPS Liquidation, Inc. (1734). The Debtors’ service address for purposes of these chapter 11 cases is PMB
#179, 1159 Second Avenue, New York, NY 10065.


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     IF YOU DO NOT TAKE THESE STEPS BY THE DEADLINE, THE COURT MAY
DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE MOTION AND
MAY GRANT OR OTHERWISE DISPOSE OF THE MOTION BEFORE THE
SCHEDULED HEARING DATE.

Dated: December 1, 2023              COZEN O’CONNOR
                                     /s/ Simon E. Fraser
                                     Simon E. Fraser (DE Bar No. 5335)
                                     1201 N. Market St., Suite 1001
                                     Wilmington, DE 19801
                                     Telephone: (302) 295-2011
                                     E-mail: sfraser@cozen.com
                                             -and-
                                     BROOKS WILKINS SHARKEY & TURCO
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                                     Counsel for Cooper-Standard Automotive Inc.




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